              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                          Plaintiff,              Case No. 16-CR-157-1-JPS
 v.

 BRANDON J. MICKEY,

                          Defendant.                             ORDER

       On November 23, 2016, the government filed a motion to dismiss the

Indictment in this matter as to Defendant Brandon Mickey without prejudice

pursuant to Federal Rule of Criminal Procedure 48(a). (Docket #19). This Rule

provides that the government may dismiss an indictment prior to trial only

with leave of the court. Fed. R. Crim. Pro. 48(a). Having considered the

motion and the entire record herein, the Court will grant the motion.

       Accordingly,

       IT IS ORDERED that the government’s motion for leave to dismiss

the Indictment as to Defendant Brandon Mickey without prejudice (Docket

#19) be and the same is hereby GRANTED.

       Dated at Milwaukee, Wisconsin, this 6th day of December, 2016.

                                   BY THE COURT:



                                   s/ J. P. Stadtmueller
                                   J.P. Stadtmueller
                                   U.S. District Judge




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